                                                 Case 2:16-cv-03602-DJH Document 88 Filed 02/21/18 Page 1 of 2


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                                                           IN THE UNITED STATES DISTRICT COURT
                                    14
                                                                 FOR THE DISTRICT OF ARIZONA
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                                           Brian Swontek,                                  Case No.: 2:16-CV-03602-DJH
                                    17
                                    18                           Plaintiff,
                                    19
                                    20     vs.
                                                                                           NOTICE OF SETTLEMENT AS
                                    21     Experian Information Solutions,                 TO HUGHES FEDERAL
                                    22     Inc.; Equifax Information Services,             CREDIT UNION ONLY

                                    23     LLC, Trans Union, LLC; RGS
                                           Financial, Inc.; Portfolio Recovery
                                    24     Associates, LLC; Continental
                                    25     Central Credit, Inc.; and PRA
                                    26     Federal Credit Union,

                                    27                           Defendants.
                                    28

                                         ______________________________________________________________________________________________
                                            NOTICE OF SETTLEMENT                  - !1 OF !2 -                      2:16-CV-03602-DJH
                                               Case 2:16-cv-03602-DJH Document 88 Filed 02/21/18 Page 2 of 2



                                     1        NOTICE IS HEREBY GIVEN that this case has been settled as to Defendant
                                     2   Hughes Federal Credit Union (“Hughes”) only. The Plaintiff anticipates filing the
                                     3   Stipulation to Dismiss this action, with prejudice, as to Defendant Hughes Federal
                                     4   Credit Union only, with each party bearing their own attorney’s fees and costs,
                                     5   within 45 days. Plaintiff requests that all pending dates and filing requirements be
                                     6   vacated as to Hughes, and that the Court set a deadline on or after April 12, 2018
                                     7   for filing a Request for Dismissal.
                                     8
                                     9   Respectfully submitted,
                                    10
                                    11   Date: February 20, 2018                                KAZEROUNI LAW GROUP
                                    12
HYDE & SWIGART




                                    13                                                       By: s/ Ryan L. McBride
                 Phoenix, Arizona




                                    14                                                              Ryan L. McBride
                                                                                                    Attorneys for Plaintiff
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                                            NOTICE OF SETTLEMENT                  - !2 OF !2 -                      2:16-CV-03602-DJH
